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         ORDERED in the Southern District of Florida on April 5, 2021.




                                                            Mindy A. Mora, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION
                                        www.flsb.uscourts.gov

        In re:                                                     Case No. 18-16248-BKC-MAM
                                                                   Chapter 7
        CHANCE & ANTHEM, LLC,

                    Debtor.
        ____________________________________/

                      ORDER GRANTING MOTION TO UNSEAL RECORD OF
                   CONFIDENTIAL TESTIMONY BY ROBERT GIBSON (ECF No. 303)

                 THIS MATTER came before the Court on March 2, 2021 at 10:00 a.m. upon the Motion

        to unseal the record of confidential testimony by Robert Gibson (ECF No. 303), which Jeffrey

        Siskind moved ore tenus to amend to substitute himself as movant, and the Court having heard the

        motion, record, argument and being otherwise informed, and noting that the Chapter 7 Trustee

        takes no position as to the motion, does hereby
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       ORDER AND ADJUDGE, that Robert Gibson’s confidential testimony in the adversary

case no. 19-1298 is unsealed, provided that Mr. Siskind provides the Clerk’s office with the date

and time of the hearing during which the Court permitted Mr. Gibson to testify.


Submitted by:
Jeffrey Siskind, Esq.
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Jeffrey Siskind, Esq. shall serve a copy of this Order upon all interested parties and file a
certificate of service thereon.




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